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 5                           UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                   )
                                                 )    NO.      CR-09-2110-WFN-7
 8                             Plaintiff,        )
                                                 )
 9          -vs-                                 )    ORDER
                                                 )
10   CONRADO GIL-ROJAS                           )
                                                 )
11                             Defendant.        )
                                                 )
12
13         A pretrial conference and motion hearing was held September 27, 2010. The
14 Defendant, who is not in custody, was present and represented by Kripa Upadhyay on behalf
15 of Nicholas Marchi; Assistant United States Attorney Jane Kirk represented the Government.
16 The parties filed a Joint Motion for Continuance. The parties should please note that this
17 Order sets an additional pretrial conference on November 15, 2010.
18         The Court has reviewed the file and Motion and is fully informed. This Order is
19 entered to memorialize and supplement the oral rulings of the Court. Accordingly,
20         IT IS ORDERED that:
21         1. Defendant's Motion for Disclosure of the Identity of the Confidential Informant,
22 filed September 17, 2010, Ct. Rec. 472, is DENIED as MOOT.
23         2. Defendant's Motion to Sever, filed September 10, 2010, Ct. Rec. 474, is
24 GRANTED.
25         3. The parties' Joint Motion to Continue Trial, filed September 24, 2010, Ct.
26 Rec. 489, is GRANTED.


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 1             The Court finds that the ends of justice served by the granting of a continuance of
 2 the trial in this matter outweigh the best interests of the public and the Defendant in a speedy
 3 trial. A trial date of October 4, 2010 would unreasonably deny defense counsel adequate
 4 time to review discovery, prepare for trial, and provide effective assistance of counsel, taking
 5 into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7).
 6         4. The trial date of October 4, 2010, is STRICKEN and RESET to January 10,
 7 2011, at 10:00 a.m., in Yakima, Washington.
 8         5. All time from the trial date of October 4, 2010, to the new trial date of January 10,
 9 2011, is EXCLUDED for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(7). A
10 waiver of speedy trial rights was signed by the Defendant.
11         6. The October 4, 2010, final pretrial conference and motion hearing is STRICKEN
12 and RESET to January 10, 2011, at 9:00 a.m., in Yakima, Washington.
13         7. All time from the filing of the parties' Motion to Continue on September 24, 2010,
14 to the date of the hearing on September 27, 2010, is EXCLUDED for speedy trial
15 calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
16         8. The parties' Motion to Expedite, filed September 24, 2010, Ct. Rec. 490, is
17 GRANTED. The underlying Motion was considered on an expedited basis.
18         9. Trial briefs, motions in limine, requested voir dire and a set of proposed JOINT
19 JURY INSTRUCTIONS shall be filed and served on or before December 27, 2010.
20             Jury instructions should only address issues that are unique to this case, and shall
21 include instructions regarding the elements of each claim, any necessary definitions and a
22 proposed verdict form.
23             The Joint Proposed Jury Instructions shall include:
24             (a) The instructions on which the parties agree; and
25             (b) Copies of instructions that are disputed (i.e., a copy of each party's proposed
26 version of an instruction upon which they do not agree). All jury instructions from the most


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 1 current edition of the Ninth Circuit Manual of Model Jury Instructions may be proposed by
 2 number. The submission of the Joint Proposed Jury Instructions will satisfy the requirements
 3 of LR 51.1(c).
 4              Each party shall address any objections they have to instructions proposed by any
 5 other party in a memorandum. The parties shall identify the specific portion of any proposed
 6 instruction to which they object and shall elaborate the basis for the objection. Objections
 7 asserting that an instruction sets forth an incorrect statement of law shall describe the legal
 8 authority that supports this objection. Failure to file an objection and supporting argument
 9 may be construed as consent to the adoption of an instruction proposed by another party.
10           10. The parties are requested to submit courtesy copies of witness and exhibit lists to
11 the Court no later than 12:00 noon the Thursday before trial.
12           11. An additional pretrial conference and motion hearing shall be held November 15,
13 2010, at 11:00 a.m., in Yakima, Washington.
14              (a) All additional motions shall be filed and served no later than October 25,
15 2010.
16              (b) Responses shall be filed and served no later than November 1, 2010.
17           The District Court Executive is directed to file this Order and provide copies to
18 counsel.
19           DATED this 28th day of September, 2010.
20
21                                                     s/ Wm. Fremming Nielsen
                                                          WM. FREMMING NIELSEN
22   09-27                                         SENIOR UNITED STATES DISTRICT JUDGE
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